Case 2:19-cv-00092-JRG-RSP Document 422 Filed 05/12/21 Page 1 of 2 PageID #: 19370




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   TEAM WORLDWIDE CORPORATION,                     §
                                                   §
                  Plaintiff,                       §
                                                   §
   v.                                              §   CIV. A. NO. 2:19-CV-00092-JRG-RSP
                                                   §   (LEAD CASE)
   ACADEMY, LTD D/B/A ACADEMY                      §
   SPORTS + OUTDOORS,                              §
                                                   §
   ACE HARDWARE CORPORATION,                       §   CIV. A. NO. 2:19-CV-00093-JRG-RSP
                                                   §
   AMAZON.COM, INC., AMAZON.COM                    §   CIV. A. NO. 2:19-CV-00094-JRG-RSP
   LLC,                                            §
                                                   §
   BED BATH & BEYOND INC.,                         §   CIV. A. NO. 2:19-CV-00095-JRG-RSP
                                                   §
   COSTCO WHOLESALE CORPORATION,                   §   CIV. A. NO. 2:19-CV-00096-JRG-RSP
                                                   §
   DICK’S SPORTING GOODS, INC.,                    §   CIV. A. NO. 2:19-CV-00097-JRG-RSP
                                                   §
   HOME DEPOT PRODUCT AUTHORITY,                   §   CIV. A. NO. 2:19-CV-00098-JRG-RSP
   LLC, HOME DEPOT U.S.A., INC.,                   §
                                                   §
   MACY’S RETAIL HOLDINGS, INC.,                   §   CIV. A. NO. 2:19-CV-00099-JRG-RSP
   MACY’S.COM, LLC,                                §
                                                   §
   TARGET CORPORATION,                             §   CIV. A. NO. 2:19-CV-00100-JRG-RSP
                                                   §
   SEARS ROEBUCK AND CO., SEARS                    §   CIV. A. NO. 2:20-CV-00006-JRG-RSP
   HOLDINGS CORPORATION,                           §   (MEMBER CASES)
   TRANSFORM SR LLC, AND                           §
   TRANSFORM KM LLC,                               §
                                                   §
                  Defendants.                      §

                                              ORDER

          The Court issue this Order sua sponte. The Court is of the opinion that the parties might

   benefit from a concerted and renewed effort to resolve their disputes via mediation with the

   benefit and insights of a new mediator. Accordingly, the Court ORDERS the parties to
Case 2:19-cv-00092-JRG-RSP Document 422 Filed 05/12/21 Page 2 of 2 PageID #: 19371




   mediate in these cases promptly and at a mutually agreeable date on or before June 3rd,

   2021. The mediation shall be conducted by the Hon. David Folsom, 6002-B Summerfield Drive,

   Texarkana, Texas 75503, dfolsom@jw.com. This Order SUPERSEDES any previous Order

   assigning a mediator or directing mediation in the above-captioned cases.           To ensure that

   mediation is as productive as possible, the Court hereby ORDERS that each party shall

   attend such mediation with lead counsel, local counsel, and a representative who has full and

   unilateral authority to act on and compromise on all pending disputes. Any party whose

   potential exposure may be covered by applicable insurance shall secure the presence at
      .
   mediation of an authorized representative of any such insurer. No party or representative

   shall leave or exit the mediation session, once it begins, without the approval of the

   mediator. The district’s applicable local rules shall

   otherwise govern and apply in all respects. The decision as to in-person or virtual attendance (or

   a combination thereof) at such mediation is deferred to the Mediator whose directions therein to

   the parties and counsel shall be considered and treated as a directive form the Court.

         So ORDERED and SIGNED this 12th day of May, 2021.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE




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